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                                           UNITED STATES DISTRICT COURT
                                                DISTRICT OF MAINE

           ED FRIEDMAN,                                                  )
                                                                         )
                       Plaintiff                                         )
                                                                         )
           v.                                                            )    2:20-cv-00237-JDL
                                                                         )
           CENTRAL MAINE POWER COMPANY,                                  )
                                                                         )
                       Defendant                                         )

                     AMENDED1 SCHEDULING ORDER with incorporated Rule 26(f) Order

           In accordance with Fed.R.Civ.P. 16(b) and the Cost and Delay Reduction Plan for the District of Maine,

the Court proposes this Order as the Scheduling Order in this case and hereby forwards it to counsel or

unrepresented parties for consultation.             Counsel and unrepresented parties shall confer as required by

Fed.R.Civ.P. 26(f). Unless an objection to this Order and a proposed discovery plan are filed by June 3, 2021,

the Court will conclude that the required Rule 26(f) conference has taken place and that the terms and deadlines

established in this proposed scheduling order have been agreed to. An objection to this Order shall contain a

detailed explanation of the reasons for each requested alteration of this Order. If no objection is timely filed,

this Order shall constitute the Court’s Scheduling Order under Fed.R.Civ.P. 16(b).

            Track Assignment: This case has been assigned to the Standard Track. Discovery is limited to not

more than 30 interrogatories per opposing side (subparts not permitted); 30 requests for admission per opposing

side; 2 sets of requests for production per opposing side; and 5 depositions per side.

           Subject Matter Jurisdiction: Federal Question.

           Jury Trial: Not Demanded.




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    This Amended Order corrects the Ready for Trial date docketed in the Scheduling Order at ECF No. 32.
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          Deadline for Conference of Parties Pursuant to Fed.R.Civ.P.26(f): May 27, 2021 Inadvertent disclosure

of privileged or trial preparation material shall be governed by the principles of Federal Rule of Evidence 502,

Rule 4.4B of the Maine Rules of Professional Conduct, and Local Rule 83.3(e).

          Deadline for Initial Disclosure Pursuant to Fed.R.Civ.P.26(a)(1): June 10, 2021

          Deadline for Amendment of the Pleadings and Joinder of Parties: July 29, 2021

          Plaintiff shall designate experts required to be disclosed by Fed.R.Civ.P. 26(a)(2)(A) (including treating

physicians and other non-retained or specially employed experts) and, with respect to each of them, provide a

complete statement of all opinions to be expressed and the basis and reasons therefor by: July 29, 2021

          Defendant shall designate experts required to be disclosed by Fed.R.Civ.P. 26(a)(2)(A) (including

treating physicians and other non-retained or specially employed experts) and, with respect to each of them,

provide a complete statement of all opinions to be expressed and the basis and reasons therefor by: September

2, 2021

          If the expert is retained or specially employed to provide expert testimony in the case or the expert’s

duties as an employee of a party regularly involve giving expert testimony, the disclosure shall also include the

other categories of information specified in Fed.R.Civ.P. 26(a)(2)(B). All required information may, but need

not, be provided in the form of a written report prepared and signed by the expert.

          Deadline to Complete Discovery: September 30, 2021

          Counsel are advised that absent some excusable circumstance, discovery initiatives must be undertaken

so that the response of the opposing party is filed prior to the discovery deadline.

          Deadline to file Notice of Intent to file Motion for Summary Judgment and Need for a Pre-Filing

Conference Pursuant to Local Rule 56(h): October 7, 2021

          Deadline for Filing of All Dispositive Motions and All Daubert and Kumho Motions2 Challenging Expert

Witnesses with Supporting Memoranda: October 21, 2021


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           Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993); Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999).
Such motions shall include any challenges to lack of qualifications, scope of testimony and any other issues addressed by these
decisions.

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       Expected Trial Date: This case shall be ready for trial by January 3, 2022

       Further Matters in Aid of Disposition: The plaintiff shall make a written settlement demand upon the

defendant by September 16, 2021. The defendant shall respond in writing by September 30, 2021.



                                                   So ORDERED.



                                                   /s/ John C. Nivison
                                                   U.S. Magistrate Judge


       Dated: May 13, 2021.




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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE


             CONSENT TO PROCEED BEFORE THE MAGISTRATE JUDGE

        Pursuant to the provisions of Title 28 United States Code, Section 636(c)(1), Magistrate
Judge John C. Nivison has been designated with the authority to conduct all proceedings in jury
and non-jury civil cases. It is the practice of Magistrate Judge John C. Nivison to endeavor to
specifically assign for trial the consent cases, whereas cases assigned to be tried before a district
judge will ordinarily be placed on a trailing trial list.
        If it is the intention of all counsel that this case be tried before Magistrate Judge
John C. Nivison, counsel must sign and file a Consent to Proceed form which is located in the
Forms section of the Court’s web page (www.med.uscourts.gov). The Consent form is to be filed
only if it is executed by all counsel.
        The trial of any Bangor case will be conducted by Magistrate Judge John C. Nivison in
Bangor; the trial of any Portland case will be conducted by Magistrate Judge John C. Nivison in
Portland.




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